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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH VITALE, et al                        :
                  Plaintiffs,               :
                                            :    CIVIL ACTION
              v.                            :
                                            :    NO. 15-cv-01815-RAL
ELECTROLUX HOME                             :
PRODUCTS, INC:                              :
               Defendant.                   :

                                          ORDER

       AND NOW, this 13th day of August, 2018, for the reasons set forth in the

accompanying memorandum opinion, it is hereby ORDERED that Plaintiffs’ Omnibus

Motion to Preclude Certain Evidence (ECF No. 47) is GRANTED in part and DENIED in

part; Plaintiffs’ Motion in Limine to Exclude Industry Standard Evidence and the Dryer

Design Opinions of Randall Bills, P.E. (ECF No. 70) is DENIED; and Defendant’s motions

in limine (ECF Nos. 36, 41, 43, 44, 46, 48, 49, 50, 51, 52, and 53) are disposed of as follows:

ECF No. 36 is DENIED, except that Mr. Stoddard may not testify as to whether having

formal internal product safety standards or training is a standard of care in the area of dryer

product design, nor may Mr. Stoddard opine as to any causal link between the absence of a

formal internal product safety standards and the design flaws in the product; ECF No. 41 is

DENIED, and the Vitales’ cross-motion in response is DENIED; ECF No. 43 is

GRANTED; ECF No. 44 is GRANTED; ECF No. 46 is GRANTED; ECF No. 48 and ECF

No. 50 are GRANTED in part; ECF No. 49 is GRANTED in part; ECF No. 51 is

DENIED; ECF No. 52 is DENIED; and ECF No. 53 is DENIED.

                                                 SO ORDERED:



                                                 /s/ Richard A. Lloret        .
                                                 RICHARD A. LLORET
                                                 U.S. Magistrate Judge
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